CaSe 8-18-76327-|&8 DOC 13 Filed 11/20/18 Entered 11/20/18 09249227

UNITED STATES BANKRUPTCY COURT RETURN DATE: JANUARY 10, 2019
EASTERN DISTRICT OF NEW YORK TIME: 10:00 A.M.
________________________________________________________ X '
ln Re: Chapter 7
Christina Cosentino, Case No. 818-76327-845

Debtor. Notice of Hearing
________________________________________________________ X

PLEASE TAKE NOTICE, that on January l(), 2019 at 10:00 a.m. the undersigned Will
move before the l-lonorable Louis A. Scarcella, United States Banl<ruptcy Judge, United States
Bankruptcy Cou:rt, Alfonse M. D’Arnato U.S. Courthouse, 290 Federal Plaza, Room 970, Central
Islip, New York 11722, or as soon thereafter as counsel can be heard for an Order: (a) authorizing
Marc A. Pergament, Chapter 7 Trustee, to retain Prernium Group Realty LLC as the Trust`ee’s
exclusive real estate brol<er; and (b) grant such other and further relief as this Court deems just
and proper.

PLEASE TAKE FURTHER NOTICE, Objections to the Trustee’s application
shall be filed as follows: (a) (i) through the Banl<ruptcy Court’s electronic filing system (in
accordance With Order No. 476), Which may be accessed through the lnternet at the Bankruptcy
Court’s Website: WWW.nyeb.uscourts.gov, and (ii) in portable document format (PDF) using
Adobe Exchange software for conversion; or (b) if a party is unable to fileelectronically, such party
shall submit the objection in PDF format on a disl<ette in an envelope With the case name, case
number, type and title of document, document number of` the document to vvhich the objection
refers, and the file name on the outside of the envelope An objection filed by a party With no legal
representation shall comply With section (b) or (c) as set forth in this paragraph A hard copy of the

objection, Whether filed pursuant to section (a), (b) or (c), as set forth in this paragraph, shall be

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hand-delivered directly to the Chambers of the Honorable Robert E. Grossman, and a hard copy
shall be served upon the Trustee’s counse.l, Weinberg, Gross & Pergament LLP, 400 Garden City
Plaza, Suite 403, Garden City, New Yorl< 11530, Attention: l\/Iarc A. Pergarnent, Esq., the
Off`lce of the United States Trustee, Alfonse l\/l. D’Amato U.S. Courthouse, 560 Federal Plaza,
Central lslip, New Yorl< 11722, and filed With the Clerk of the Banl<ruptcy Court, with a copy to
chambers on or before January 2, 2019.

Dated: Garden City, New York
Novernber 1'9, 2018

Weinberg, Gross & Pergarnent LLP

By: {

Maergarnent

400 Garden City Plaza, Suite 403
Garden City, NeW York 11530
(516) 877-2424

